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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


APOTEX, INC.,

Plaintiff,
                                                 Case No.: 15-CV-03695
v.
                                                 Judge Rebecca R. Pallmeyer
DAIICHI SANKYO, INC. and
DAIICHI SANKYO CO., LTD.

Defendants.


                 DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
             COMPLAINT FOR LACK OF SUBJECT MATTER JURISDICTION

        Pursuant to Federal Rules of Civil Procedure 12(b)(1), Defendants Daiichi Sankyo, Inc.

and Daiichi Sankyo Co., Ltd. (collectively “Daiichi Sankyo”) hereby move to dismiss Plaintiff

Apotex, Inc.’s (“Apotex”) complaint for lack of subject matter jurisdiction.

        For the reasons explained below, Daiichi Sankyo submits that briefing and argument of

this motion should be deferred to a later date. At Daiichi Sankyo’s request, Apotex had indicated

that its opposes deferring briefing and argument of this motion.

        The grounds for this motion have been previously briefed in a related case between the

same parties with the same operative facts, captioned Apotex, Inc. v. Daiichi Sankyo, Inc., 12

CV-09295 (Judge Sharon Johnson Coleman) (“Apotex I”). See id. at D.I. 24-26, 31-33, 43-45.

Judge Coleman granted Daiichi Sankyo’s motion to dismiss in Apotex I (2014 WL 114127 (N.D.

Ill., Jan. 9, 2014)), and the Federal Circuit reversed on grounds that subject matter jurisdiction

exists to adjudicate that case. 781 F.3d 1356 (Fed. Cir. 2015). Daiichi Sankyo intends to
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petition the Supreme Court for a writ of certiorari to review the Federal Circuit’s judgment in

Apotex I, on or before the September 8, 2015 deadline for filing a certiorari petition.

       Should the Supreme Court deny certiorari, Daiichi Sankyo will withdraw this motion to

dismiss. Should the Supreme Court grant certiorari and take any action other than to affirm the

Federal Circuit judgment, briefing of this motion may be necessary. At that point, this case will

be consolidated with Apotex I (which is currently stayed) and will be pending before Judge

Coleman pursuant to Judge Coleman’s minute entry of July 16, 2015, reassigning this case

effective August 1, 2015 (following Daiichi Sankyo’s July 30 deadline for responding only to the

jurisdictional allegations of complaint)1 (see Apotex I, D.I. 69, 83).

       Based on the foregoing, Daiichi Sankyo respectfully requests that briefing and argument

of this Motion to Dismiss be deferred until after resolution of Apotex I by the Supreme Court.




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  Along with this motion to dismiss, Daiichi Sankyo is simultaneously filing a limited answer
responding to the personal jurisdiction and venue allegations of the complaint.

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Dated: July 30, 2015                 Respectfully submitted,

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                                     and Daiichi Sankyo Co., Ltd.




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                                CERTIFICATE OF SERVICE


        I hereby certify that on July 30, 2015, I provided service to all counsel by causing a true
and correct copy of Defendants’ Motion to Dismiss Plaintiff’s Complaint for Lack of Subject
Matter Jurisdiction to be served on all counsel of record by electronic mail and/or as agreed to
by the parties:


Dated: July 30, 2015                                 /s/ David C. Van Dyke
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